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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO


Civil Action No. 19-cv-00887-RBJ

        ALEXANDER ARMIJO

Plaintiff

v.

        LEROY GARCIA, in his official and individual capacities,

Defendants
______________________________________________________________________________
                                   ANSWER
______________________________________________________________________________


        Defendant Leroy Garcia, in his individual capacity and through his undersigned counsel,

respectfully submits the following Answer to Plaintiff’s Complaint:

                                            First Defense

        1.     Defendant does not respond to the legal argument in paragraph 1 of Plaintiff’s

Complaint.

        2.     In response to paragraph 2 of Plaintiff’s Complaint, Defendant admits that a post

from the Plaintiff was removed from Defendant’s Facebook page and that further posts by the

Plaintiff may have been temporarily blocked from his Facebook page. Defendant does not have

sufficient information or knowledge to respond to the remaining allegations regarding the

Plaintiff. Defendant denies that he has a practice of stifling valid criticism.

        3.     In response to paragraph 3 of Plaintiff’s Complaint, Defendant admits that this

Court has jurisdiction over the subject matter of this case.
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        4.      In response to paragraph 4 of Plaintiff’s Complaint, Defendant admits that this

Court has jurisdiction over Plaintiff’s claim for attorney fees and costs in this case.

        5.      In response to paragraph 5 of Plaintiff’s Complaint, Defendant denies that this

Court, consistent with the Eleventh Amendment to the Constitution of the United States, may

exercise supplemental jurisdiction over Plaintiff’s request for declaratory and injunctive relief

under his Fourth Claim for Relief.

        6.      In response to paragraph 6 of Plaintiff’s Complaint, Defendant admits that venue

for this case is proper in this District.

        7.      Defendant does not have sufficient information or knowledge to respond to the

allegations in paragraph 7 of Plaintiff’s Complaint.

        8.      In response to paragraph 8 of Plaintiff’s Complaint, Defendant admits that at all

relevant times he was a citizen of the United States, a resident of the State of Colorado, a Senator

from Colorado Senate District 3, and the President of the Colorado State Senate. Defendant,

further, does not contest that the actions alleged to have been taken with regard to Plaintiff’s

postings on his subject Facebook page may be deemed to constitute action by the Defendant in

his individual capacity under color of state law.

        9.      Defendant does not contest the allegations in paragraph 9 of Plaintiff’s Complaint.

        10.     Defendant does not contest the allegations in paragraph 10 of Plaintiff’s

Complaint.

        11.     Defendant does not contest the allegations in paragraph 11 of Plaintiff’s

Complaint.




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       12.     Defendant does not contest the allegations in paragraph 12 of Plaintiff’s

Complaint.

       13.     Defendant does not contest the allegations in paragraph 13 of Plaintiff’s

Complaint.

       14.     Defendant does not contest the allegations in paragraph 14 of Plaintiff’s

Complaint.

       15.     Defendant does not contest the allegations in paragraph 15 of Plaintiff’s

Complaint.

       16.     Defendant does not contest the allegations in paragraph 16 of Plaintiff’s

Complaint.

       17.     Defendant admits the allegations in paragraph 17 of Plaintiff’s Complaint, except

that Defendant affirmatively states that his alleged actions were at all times taken in his

individual, rather than “official” capacity. Defendant does not contest, however, that his alleged

individual capacity actions may be deemed to constitute action under color of state law.

       18.     Defendant admits the allegations in paragraph 18 of Plaintiff’s Complaint.

       19.     Defendant admits the allegations in paragraph 19 of Plaintiff’s Complaint.

       20.     Defendant admits the allegations in paragraph 20 of Plaintiff’s Complaint.

       21.     Defendant does not contest the allegations in paragraph 21 of Plaintiff’s

Complaint.

       22.     Defendant admits the allegations in paragraph 22 of Plaintiff’s Complaint.

       23.     Defendant does not contest the allegations in paragraph 23 of Plaintiff’s

Complaint.


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       24.     Defendant does not contest the allegations in paragraph 24 of Plaintiff’s

Complaint.

       25.     Defendant does not contest the allegations in paragraph 25 of Plaintiff’s

Complaint.

       26.     Defendant does not contest the allegations in paragraph 26 of Plaintiff’s

Complaint.

       27.     Defendant does not contest the allegations in paragraph 27 of Plaintiff’s

Complaint.

       28.     Defendant does not contest the allegations in paragraph 28 of Plaintiff’s

Complaint.

       29.     Defendant does not contest the allegations in paragraph 29 of Plaintiff’s

Complaint.

       30.     Defendant does not contest the allegations in paragraph 30 of Plaintiff’s

Complaint.

       31.     Defendant admits the “sampling” of comments presented in paragraph 31 of

Plaintiff’s Complaint did appear on the subject Facebook page. Defendant denies the “upon

information and belief” allegations in this paragraph. Defendant does not contest, however, that

other “negative comments” may have been deleted from the subject Facebook page.

       32.     Defendant does not contest the allegations in paragraph 32 of Plaintiff’s

Complaint.




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       33.     Defendant denies the substance and tenor of the allegations contained in

paragraph 33 of Plaintiff’s Complaint, though affirmatively states that they are irrelevant to the

relief to which Plaintiff would be entitled under the factual allegations set forth in his Complaint.

       34.     Defendant denies the substance and tenor of the allegations contained in

paragraph 34 of Plaintiff’s Complaint, though affirmatively states that they are irrelevant to the

relief to which Plaintiff would be entitled under the factual allegations set forth in his Complaint.

       35.     Defendant does not contest the allegations in paragraph 35 of Plaintiff’s

Complaint.

       36.     Defendant does not contest the allegations in paragraph 36 of Plaintiff’s

Complaint.

       37.     Defendant does not contest the allegations in paragraph 37 of Plaintiff’s

Complaint.

       38.     Defendant does not contest the allegations in paragraph 38 of Plaintiff’s

Complaint.

       39.     Defendant does not contest the allegations in paragraph 39 of Plaintiff’s

Complaint.

       40.     In response to paragraph 40 of Plaintiff’s Complaint, Defendant does not contest

the allegation that Plaintiff’s comment was deleted from the subject Facebook page or that

Plaintiff may have been temporarily “banned” from that page. Defendant denies the remaining

characterizations in that paragraph.

       41.     In response to paragraph 41 of Plaintiff’s Complaint, Defendant does not contest

that Plaintiff may have been temporarily “banned” from the subject Facebook page. Defendant


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affirmatively states, however, that Plaintiff is no longer “banned” from the subject Facebook

page.

        42.    Defendant does not contest the allegations in paragraph 42 of Plaintiff’s

Complaint.

        43.    Defendant incorporates his responses as set forth above in response to paragraph

43 of Plaintiff’s Complaint.

        44.    Defendant does not contest the allegations in paragraph 44 of Plaintiff’s

Complaint.

        45.    Defendant does not contest the allegations in paragraph 45 of Plaintiff’s

Complaint.

        46.    Defendant does not contest the allegations in paragraph 46 of Plaintiff’s

Complaint.

        47.    Defendant does not contest the allegations in paragraph 47 of Plaintiff’s

Complaint.

        48.    Defendant does not contest the allegations in paragraph 48 of Plaintiff’s

Complaint.

        49.    Defendant does not contest the allegations in paragraph 49 of Plaintiff’s

Complaint.

        50.    Defendant does not contest the allegations in paragraph 50 of Plaintiff’s

Complaint.




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       51.     Defendant denies the allegations contained in paragraph 51 of Plaintiff’s

Complaint, though affirmatively states that they are irrelevant to the relief requested in Plaintiff’s

Complaint.

       52.     Defendant denies the allegations contained in paragraph 52 of Plaintiff’s

Complaint, though affirmatively states that they are irrelevant to the relief to which Plaintiff

would be entitled under the factual allegations set forth in his Complaint.

       53.     Defendant denies the allegations contained in paragraph 53 of Plaintiff’s

Complaint, though affirmatively states that they are irrelevant to the relief to which Plaintiff

would be entitled under the factual allegations set forth in his Complaint.

       54.     Defendant does not contest the allegations in paragraph 54 of Plaintiff’s

Complaint, except that Defendant denies that Plaintiff has suffered more than nominal damages.

       55.     Defendant incorporates his responses as set forth above in response to paragraph

55 of Plaintiff’s Complaint.

       56.     Defendant does not contest the allegations in paragraph 56 of Plaintiff’s

Complaint.

       57.     Defendant does not contest the allegations in paragraph 57 of Plaintiff’s

Complaint.

       58.     Defendant does not contest the allegations in paragraph 58 of Plaintiff’s

Complaint.

       59.     Defendant does not contest the allegations in paragraph 59 of Plaintiff’s

Complaint.




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       60.     Defendant does not contest the allegations in paragraph 60 of Plaintiff’s

Complaint.

       61.     Defendant does not contest the allegations in paragraph 61 of Plaintiff’s

Complaint.

       62.     Defendant denies the allegations contained in paragraph 62 of Plaintiff’s

Complaint, though affirmatively states that they are irrelevant to the relief requested in Plaintiff’s

Complaint.

       63.     Defendant denies the allegations contained in paragraph 63 of Plaintiff’s

Complaint, though affirmatively states that they are irrelevant to the relief to which Plaintiff

would be entitled under the factual allegations set forth in his Complaint.

       64.     Defendant denies the allegations contained in paragraph 64 of Plaintiff’s

Complaint, though affirmatively states that they are irrelevant to the relief to which Plaintiff

would be entitled under the factual allegations set forth in his Complaint.

       65.     Defendant does not contest the allegations in paragraph 65 of Plaintiff’s

Complaint, except that Defendant denies that Plaintiff has suffered more than nominal damages.

       66.     Defendant incorporates his responses as set forth above in response to paragraph

66 of Plaintiff’s Complaint.

       67.     Defendant does not contest the allegations in paragraph 67 of Plaintiff’s

Complaint.

       68.     Defendant does not contest the allegations in paragraph 68 of Plaintiff’s

Complaint.




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       69.     Defendant does not contest the allegations in paragraph 69 of Plaintiff’s

Complaint.

       70.     Defendant denies the allegations contained in paragraph 70 of Plaintiff’s

Complaint, though affirmatively states that they are irrelevant to the relief requested in Plaintiff’s

Complaint.

       71.     Defendant denies the allegations contained in paragraph 71 of Plaintiff’s

Complaint, though affirmatively states that they are irrelevant to the relief requested in Plaintiff’s

Complaint.

       72.     Defendant denies the allegations contained in paragraph 72 of Plaintiff’s

Complaint, though affirmatively states that they are irrelevant to the relief requested in Plaintiff’s

Complaint.

       73.     Defendant does not contest the allegations in paragraph 73 of Plaintiff’s

Complaint.

       74.     Defendant denies the allegations contained in paragraph 74 of Plaintiff’s

Complaint, though affirmatively states that they are irrelevant to the relief to which Plaintiff

would be entitled under the factual allegations set forth in his Complaint.

       75.     Defendant denies the allegations contained in paragraph 75 of Plaintiff’s

Complaint, though affirmatively states that they are irrelevant to the relief to which Plaintiff

would be entitled under the factual allegations set forth in his Complaint.

       76.     Defendant denies the allegations contained in paragraph 76 of Plaintiff’s

Complaint, though affirmatively states that they are irrelevant to the relief to which Plaintiff

would be entitled under the factual allegations set forth in his Complaint.


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         77.     Defendant does not contest the allegations in paragraph 77 of Plaintiff’s

 Complaint, except that Defendant denies that Plaintiff has suffered more than nominal damages.

         78.     Defendant incorporates his responses as set forth above in response to paragraph

 78 of Plaintiff’s Complaint.

         79.     Defendant does not contest the allegations in paragraph 79 of Plaintiff’s

 Complaint.

         80.     Defendant admits the allegations in paragraph 80 of Plaintiff’s Complaint.

         81.     Defendant does not respond to the legal conclusion presented in paragraph 81 of

 Plaintiff’s Complaint.

         82.     Defendant does not contest the allegations in paragraph 82 of Plaintiff’s

 Complaint.

         83.     Defendant does not contest the allegations in paragraph 83 of Plaintiff’s

 Complaint.

         84.     Defendant does not contest the allegations in paragraph 84 of Plaintiff’s

 Complaint, except that Defendant denies that he continues to prevent Plaintiff from exercising

 his right to speak freely.

         85.     Defendant does not contest the allegations in paragraph 85 of Plaintiff’s

 Complaint.

         86.     Defendant does not contest the allegations in paragraph 86 of Plaintiff’s

 Complaint.

         87.     Defendant does not contest the allegations in paragraph 87 of Plaintiff’s

 Complaint.


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        88.     Defendant denies the allegations contained in paragraph 88 of Plaintiff’s

 Complaint, though affirmatively states that they are irrelevant to the relief to which Plaintiff

 would be entitled under the factual allegations set forth in his Complaint.

        89.     Defendant denies the allegations contained in paragraph 89 of Plaintiff’s

 Complaint, though affirmatively states that they are irrelevant to the relief to which Plaintiff

 would be entitled under the factual allegations set forth in his Complaint.

        90.     Defendant denies the allegations in paragraph 90 of Plaintiff’s Complaint, though

 affirmatively states that they are irrelevant to the relief to which Plaintiff would be entitled under

 the factual allegations set forth in his Complaint.

        91.     Defendant does not contest the allegations in paragraph 91 of Plaintiff’s

 Complaint, except that Defendant denies that Plaintiff has suffered more than nominal damages.

                                           Second Defense

        92.     Plaintiff’s damage claims against the Defendant in his “official capacity” are

 barred by the Eleventh Amendment to the Constitution of the United States.

                                            Third Defense

        93.     Plaintiff’s declaratory and injunctive claims against the Defendant in his “official

 capacity” are barred by absence of a connection by Defendant to enforcement of a state policy or

 law.

                                            Fourth Defense

        94.     Plaintiff’s Fourth Claim for Relief fails to state a claim upon which relief can be

 granted.




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                                          Prayer for Relief

        WHEREFORE, Defendant will stipulate to entry of Judgment in favor of the Plaintiff and

 against the Defendant in his individual capacity for such declaratory and injunctive relief as this

 Court may deem necessary and appropriate, nominal or compensatory damages subject to

 evidentiary proof, post-judgment interest at the appropriate rate, and such award of attorney fees

 and costs under 42 U.S.C. §1988 as the Court may determine to be allowable and appropriate in

 this case under the factors established for consideration of fee and cost applications under that

 statute and under the Federal Rules of Civil Procedure. Defendant respectfully reserves the right

 to seek affirmative relief from this Court if and as such relief may become appropriate.

        Dated this 10th day of April, 2019.



                                                       s/Edward T. Ramey____
                                                       Edward T. Ramey
                                                       Tierney Lawrence LLC
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                                                       Denver, CO 80203
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                                                       Attorneys for Defendant




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                                 CERTIFICATE OF SERVICE

         I hereby certify that on April 10, 2019, a true and correct copy of the foregoing was
 electronically filed with the Clerk of Court using the CM/ECF system which will send notification
 of such filing to all parties in this action.


                                                     s/Edward T. Ramey____




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